Case 1:14-cv-01934-CRC Document1 Filed 11/17/14 Page 1 of 7

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

REBECCA BAXTER *
836 Bonifant Street *
Silver Spring, Maryland 20910! >
On Behalf of Herself and -
All Others Similarly situated *
%
PLAINTIFF, *
ok

V. * Case No.:
MSTREET MANAGEMENT GROUP, LLC a
1819 M Street NW *
Washington DC 20036 +
*
SERVE: CT Corporation System
1015 15" Street, NW, Suite 1000 "
Washington, DC 20005 *
k
*

DEFENDANT.
BOISE SI OR idiok doi diac io GG GIG ICSE CGC CI GG I SICIGE IK a foie k sek ak kak sk dae aa RK aa
CLASS AND COLLECTIVE ACTION COMPLAINT

Plaintiff Rebecca Baxter (“Plaintiff”), by and through undersigned counsel, on behalf of herself
and all others similarly situated, hereby submits her Collective Action Complaint against Defendant
MStreet Management Group, LLC (“Defendant”) to recover unpaid wages and statutory damages
under the Federal Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201 et seq. (“FLSA”)
and to recover unpaid wages and statutory damages under the D.C. Minimum Wage Act Revision Act
of 1992, D.C. Code §§ 32-1001 et seg. (‘DCMWA”) as set forth below.

PARTIES AND JURISDICTION
l. Plaintiff is an adult resident of Arlington, Virginia.

Ze By acting as the named Plaintiff in this action, Plaintiff hereby consents to participate as a

Plaintiff in an FLSA and DCMWA collective action.

 

' To avoid retaliation, Plaintiff has listed the address of her counsel.
Case 1:14-cv-01934-CRC Document1 Filed 11/17/14 Page 2 of 7

3 Defendant is a limited liability company formed under the laws of the District of

Columbia with its principal place of business located in the District of Columbia.

4. At all times, Defendant has done business as an exotic dance club in the District of
Columbia.
5. At all times, Defendant was engaged in commerce or in the production of goods for

commerce within the meaning of § 3(s)(1) of the FLSA (29 U.S.C. § 203(s)(1)).

6, At all times, Defendant had gross annual revenues exceeding $500,000.00 and otherwise
qualified as an “enterprise” within the meaning of § 3(r) of the FLSA (29 U.S.C. § 203(n)).

7. At all times, Plaintiff was an individual employee engaged in commerce or the
production of goods for commerce as required by 29 U.S.C. §§ 206-207.

8. This Court has jurisdiction over Defendant pursuant to § 16(b) of the FLSA, 29 U.S.C. §
216(b), and 28 U.S.C. § 1337 relating to “any civil action or proceeding arising under any act of
Congress regulating commerce.” Subject matter jurisdiction is invoked under 28 U.S.C. § 1331
(Federal Question). Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

FACTS

9, Plaintiff was employed by Defendant as an exotic dancer from about August 15, 2014
through about October 19, 2014.

10. During the period of Plaintiff's employment, Plaintiff typically worked about thirty-six
(36) or more hours per week.

11. During the period of Plaintiff's employment, Defendant paid Plaintiff direct wages at the
“tip credit” rate of $2.77 per hour.

12. Throughout the entirety of Plaintiffs employment, at the end of each shift, Defendant

mandated and took a “tip out” from Plaintiff's tips whereby Plaintiff was required to pay a portion of
Case 1:14-cv-01934-CRC Document1 Filed 11/17/14 Page 3 of 7

her tips received from customers directly to Defendant.

13. Typically, Plaintiff paid a “tip out” to Defendant in the amount of about $25.00 per shift.

14. The mandatory “tip out” effectively lowered Plaintiff's hourly rate by $25.00 per shift
resulting in a net negative hourly rate of -$0.07 per hour (9 hours per shift * $2.77 per hour = $24.93 -
$25.00 “tip out” = -$0.07 per hour).

15. Defendant never paid Plaintiff at an hourly rate at least equal to the applicable minimum
District of Columbia minimum wage of $9.50 per hour (or the Federal Minimum wage of $7.25 per
hour).

16. Defendant did not comply with the “tip credit” requirements of Federal and District of
Columbia law.

17. Employers may only enjoy the benefits of the “tip credit” as an alternative method if the
following requirements are met. See 29 U.S.C. § 203(m): (1) the employer must give the employee
proper notice of taking a tip credit; (2) the employee must retain all of her tips except for those
lawfully shared with other employees; and (3) the employee, through her tips, must make up the
difference between the tipped minimum wage and full minimum wage—if she does not, the employer
must pay the her the difference in wages. 29 C.F.R. § 531.59.

18. The “tip out” that Defendant charged Plaintiff from her tips at the end of her shift
axiomatically resulted in Plaintiff not “retaining all of her tips” and destroyed Defendant’ s ability to
attempt to utilize the “tip credit” method.

19. Plaintiff is now owed the difference between her net-negative hourly rate (-$0.07 per
hour) and the “free and clear” DC Minimum Wage ($9.50 per hour) in amount of $9.47 per hour for
all hours worked each week (or, in the alternative, the “free and clear” Federal Minimum Wage ($7.25

per hour) in the amount of $7.32 per hour for all hours worked each week).
Case 1:14-cv-01934-CRC Document1 Filed 11/17/14 Page 4 of 7

COLLECTIVE ACTION ALLEGATIONS
20. Plaintiff is pursuing this action as an FLSA and DCMWA collective action on behalf of
herself and all other similarly situated individuals.
21. The collective action includes
i. Current and former exotic dancer employees who worked as exotic dancers at

the Defendant’s Mpire Club at any time between November 17, 2011 and
the present;

il. Who paid Defendant a “tip out” (or substantially similar payment); and
lil. Who, as a consequence, were not paid by Defendant for all hours worked at an
hourly at least equal to the minimum wage hourly rate required by the FLSA and
DCMWA.
22. In the present case, the questions of law or fact common to the members of the collective

action class predominate over any questions affecting only individual collective action class members.

234 The essence of this entire case is the Plaintiff and other similarly situated individuals - -
as a direct consequence of Defendant charging a “tip out” were not paid for hours worked at an hourly
rate at least equal to the Federal and District of Columbia minimum wage.

24. Common to Plaintiff and all collective action class members is that each individual paid a
“tip out” to Defendant and, as a consequence, received wages from Defendant at a rate less than what
is required by the FLSA and DCMWA for all hours worked each week,

23. Specifically, Plaintiff and each collective action class member is owed the difference
between their net-negative regular hourly rates and the FLSA and DCMWA required rate and statutory
damages under the FLSA and DCMWA.

26. In the present case, the number of collective action class members is believed to exceed

twenty-five (25) current and former exotic dancer employees.
Case 1:14-cv-01934-CRC Document1 Filed 11/17/14 Page 5 of 7

ne All class members are readily identifiable from information and records, on information
and belief, in the possession and control of the Defendant.
CAUSES OF ACTION

COUNTI
Violation of Federal Fair Labor Standards Act

28. Plaintiff re-alleges and reasserts each and every allegation set forth above as if each were
set forth herein.

Zo Section 206(a)(1) of the FLSA provides that no employer shall employ any employee for
an hourly wage of less than the Federal minimum wage, currently $7.25 per hour.

30. At all times, Plaintiff and other exotic dancer employees were “employees” covered by
the FLSA, 29 U.S.C. § 206(a)(1).

31. Atall times, Defendant was Plaintiff's “employer” and the employer of other exotic
dancer employees under the FLSA,

32. Defendant, as the employer of Plaintiff and other exotic dancer employees, was obligated
to compensate Plaintiff and other exotic dancer employees for all hours worked at an hourly rate not
less than the Federal Minimum Wage.

33. Atall times, Defendant paid Plaintiff and other exotic dancer employees at an hourly rate
that calculates in the negative.

34. The net negative hourly rate paid by Defendant to Plaintiff and other exotic dancer
employees falls below the applicable Federal Minimum Wage.

35. Atall times, Defendant had actual knowledge that the compensation method and amount

that Defendant paid Plaintiff and other exotic dancers was less than the compensation method and

amount required by the FLSA.
Case 1:14-cv-01934-CRC Document1 Filed 11/17/14 Page 6 of 7

36. Defendant’s failure to pay compensation to Plaintiff and other exotic dancer employees
as required by the FLSA was willful and intentional, and not in good faith.

WHEREFORE, Defendant is liable to Plaintiff (and all others similarly situated who have joined
in this suit) for unpaid minimum wages in such amounts as are proven at trial, plus an equal amount in
liquidated damages, interest (both pre- and post-judgment), attorney’s fees, the costs of this action, and
any other and further relief this Court deems appropriate.

COUNT II
Violation of DC Minimum Wage Act

37, Plaintiff re-alleges and reasserts each and every allegation set forth above as if each were
set forth herein.

38. The DCMWA provides that no employer shall employ any employee for an hourly wage
of less than the District of Columbia Minimum Wage.

39, At all times during Plaintiff's employment, the District of Columbia Minimum Wage was
$9.50 per hour.

40. At all times, Plaintiff and other exotic dancer employees were “employees” covered by
the DCMWA.

41. At all times, Defendant was Plaintiff's “employer” and the employer of other exotic
dancer employees under the DCMWA.

42. Defendant, as the employer of Plaintiff and other exotic dancer employees, was obligated
to compensate Plaintiff and other exotic dancer employees for all hours worked at an hourly rate not
less than the District of Columbia Minimum Wage.

43. Atall times, Defendant paid Plaintiff and other exotic dancer employees at an hourly rate

that calculates in the negative.
Case 1:14-cv-01934-CRC Document1 Filed 11/17/14 Page 7 of 7

4. The net negative hourly rate paid by Defendant to Plaintiff and other exotic dancer
employees falls below the District of Columbia Minimum Wage.

45. Atall times, Defendant had actual knowledge that the compensation method and amount
that Defendant paid Plaintiff and other exotic dancers was less than the compensation method and
amount required by the DCMWA.

46. Defendant’s failure to pay compensation to Plaintiff and other exotic dancer employees
as required by the DCMWA was willful and intentional, and not in good faith.

WHEREFORE, Defendant is liable to Plaintiff (and all others similarly situated who have joined
in this suit) for unpaid minimum wages in such amounts as are proven at trial, plus an equal amount in
liquidated damages, interest (both pre- and post-judgment), attorney’s fees, the costs of this action, and
any other and further relief this Court deems appropriate.

Respectfully submitted,
A.

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